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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF IOWA

 UNITED STATES OF AMERICA,

                Plaintiff,
                                                               4:20-cr-00105-JEG-HCA
 vs.

 KHRISTA KAYE ERDMAN,

                Defendant.


       REPORT AND RECOMMENDATION CONCERNING PLEA OF GUILTY

        The United States of America and the Defendant, having both filed a written consent,

appeared before me pursuant to Rule 11, Fed. R. Crim. P. and L. Cr. R. 11. The Defendant entered

a plea of guilty to Count 1 of the Information. After cautioning and examining the Defendant under

oath concerning each of the subjects mentioned in Rule 11, I determined that the guilty plea was

knowing and voluntary as to the count, and that the offense charged is supported by an independent

factual basis concerning each of the essential elements of such offense. Defendant understands and

agrees to be bound by the terms of the plea agreement. I, therefore, recommend that the plea of

guilty be accepted, that a pre-sentence investigation and report be prepared, and that the Defendant

be adjudged guilty and have sentence imposed accordingly.


       November 19, 2021
Date: ________________________                    ______________________________________
                                                  HELEN C. ADAMS
                                                  CHIEF U.S. MAGISTRATE JUDGE


                                             NOTICE

Failure to file written objections to this Report and Recommendation within fourteen (14) days
from the date of its service shall bar an aggrieved party from attacking such Report and
Recommendation before the assigned United States District Judge. 28 U.S.C. § 636(b)(1)(B).
